
PER CURIAM.
We affirm the trial court’s final judgment with the exception of the damages awarded as compensation for the sale of the Read property on Sandpiper Place. Ms. Riley was a broker-salesman for Country Club Properties, Inc., until her termination on February 7, 1990. It appears without dispute that the Read property was sold on a new listing which was independently obtained by the appellants after Ms. Riley’s listing had expired. Accordingly, the final judgment in favor of Ms. Riley should be amended on remand to reduce the award of damages by $7,603.63.
Affirmed in part, reversed in part, and remanded.
DANAHY, A.C.J., and PATTERSON and ALTENBERND, JJ., concur.
